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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 CITY OF CHICAGO, a municipal
 corporation,

                        Plaintiff,               Case No. 1:19-cv-04547-VMK

                 v.                              Honorable Virginia M. Kendall

 JUSSIE SMOLLETT, an individual,

                        Defendant.


                          MOTION TO WITHDRAW AS COUNSEL

         Pursuant to Local Rule 83.17 of the United States District Court for the Northern District

of Illinois, Defendant, Jussie Smollett (“Mr. Smollett”), by and through his attorneys, The Quinlan

Law Firm, LLC, hereby moves this Honorable Court to grant David E. Hutchinson of The Quinlan

Law Firm, LLC, leave to withdraw his appearance as an attorney of record for Mr. Smollett in this

matter. In support of this motion, Mr. Smollett states as follows:

         1.     Plaintiff City of Chicago (the “City”) commenced the present action in the Circuit

Court of Cook County, Illinois, Law Division, on April 11, 2019, styled City of Chicago v.

Smollett, No. 2019L003898 (the “State Court Action”).

         2.     On July 3, 2019, Mr. Smollett removed the State Court Action to this Court. ECF

No. 1.

         3.     Since the State Court Action was removed to this Court, William J. Quinlan and

David E. Hutchinson of The Quinlan Law Firm, LLC (together “Counsel”), have been the

attorneys of record for Mr. Smollett.

         4.     Mr. Hutchinson is no longer with The Quinlan Law Firm.




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          5.     Mr. Smollett will continue to be represented by William J. Quinlan from The

Quinlan Law Firm LLC.

          WHEREFORE, Defendant Jussie Smollett, respectfully requests that the Court grant David

E. Hutchinson leave to withdraw as the attorney of record for Defendant Jussie Smollett in this

action.

February 1, 2022.
                                                 Respectfully submitted,



                                                 /s/ William J. Quinlan
                                                 William J. Quinlan
                                                 David E. Hutchinson
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